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           From: "Inder Thukral" <ithukral@kognetics.com>
              To: Tariq Farwana <tfarwana@StrateSphere.com>
         Subject: Fwd: Kognetics_Executive Brief Draft Aug 20 KP.pptx
            Date: 2019-08-20 12:47:33 -0400
    Importance: Normal
   Attachments: ATT00001.htm; Kognetics_Executive_Brief_Draft_Aug_20_KP.pptx; ATT00002.htm
  Inline-Images: image001.png


Latest deck.

Inder Thukral
CEO, Kognetics
+1 518 698 1166

Begin forwarded message:


From: Hetal Shah <hshah@kognetics.com>
Date: August 20, 2019 at 10:01:34 AM EDT
To: Kelly Porter <kelly.porter@woodsidecap.com>, "tricia.salinero@woodsidecap.com"
<tricia.salinero@woodsidecap.com>
Cc: "Inder Thukral" <ithukral@kognetics.com>, Rajeev Vaid <rvaid@kognetics.com>
Subject: Kognetics_Executive Brief Draft Aug 20 KP.pptx


Hi Kelly, Tricia

Hope you are well.

Attached is the updated deck, based on your discussion with Inder, have updated pages 26 and 27 to reflect
higher EBITDA margin in later years.

Regards,
Hetal.


Hetal Shah
Chief Product Officer




                                                                                        35




                                                                                           STRATESPHERE--002852
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                                   ARTIFICIAL INTELLIGENCE PLATFORM
                                   FOR ENTERPRISE DECISION MAKING




   Kognetics Proprietary Data & Insights



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                                                                                                                           STRATESPHERE--002855
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Revolutionizing the $30B Enterprise Strategy and Decision-Making Market

    Kognetics’ AI platform provides executives, advisors and investors
    with decision analytics and support around market strategy, enterprise
    strategy, M&A strategy, investment strategy, competitive strategy,
    hiring strategy, and more.

    The platform is very sophisticated yet simple-to-use, generating
    specific answers to essential questions, in real time, from large
    oceans of structured and unstructured data.

    Kognetics has been in-market for three years and is currently
    penetrating two very large markets:

    •      Enterprise Strategy - $24B: public & private companies,
           government economic development

    •      Investors & Advisors - $6B: investment banking, private equity,
           consulting, corporate M&A


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                                                                                                                           STRATESPHERE--002856
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Worldwide Data Growing Exponentially
  Worldwide data is growing 10x to 163 zettabytes 2017-2025 (IDC). Strategic analysts /
  executives are increasingly challenged to extract actionable and intelligent insights, and
  analysts / executives that lack AI-infused tools are at a competitive disadvantage.

                                                                                                                             Current Process – Challenges –
  Strategy                        Must Understand an Industry                                      Current Resources         Competitive Disadvantage:
  Analyst/                        e,g, Cybersecurity: 115 segments, 4400 companies,
                                  1300+ acquisitions, 4400 funding rounds, 2000
 Executive/                       news sources, 720 exits, $160B in funding, 40                                                     Too much data to
  Advisor                         countries                                                                                         process - incomplete
                                                                                                                                    analysis

                                  Must Understand His/Her Own Company                                                               Stale data and insights
                                  Product, financials, historical activity, strategic intent



                                                                                                                                    Takes too much time
                                  Must Understand Potential Partners
                                  Acquisition momentum, valuation models, trending
                                  segments, strategic gaps, industry convergence




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                                                                                                                                              STRATESPHERE--002857
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Kognetics Market Positioning
    Kognetics’ platform is a market leader in the most important segment of the data industry - Decision
    Support as a Service. Data from other industry segments are used by Decision Support platforms
    like Kognetics to craft answers to the most important strategic questions for large and small
    enterprises, investment firms, advisory firms and others.
                                                           Data Industry Market Map




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                                                                                                                           STRATESPHERE--002858
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Kognetics AI Platform: Knowledge Graphs
  How it works - Kognetics’ platform scans billions of data points and serves up simple, intelligent
  answers to queries from enterprise strategy analysts and executives.

    Domain Expertise                Integrated Structured & Unstructured Data                         Knowledge Graph               Cognitive                 Workflow
                                                     Context                                                                        Analytics                Integration

                                         Primary Sources
                                                                                                                                                             Business
       Taxonomies                      Demand Side Trends,                                                                        M&A Analytics
                                                                                                                                                            Development
                                        Supply Side Trends
                                         Enterprise Data
                                                                                                           Market                     Market/
        Ontologies                   CRM, ERP, Documents,                                                                           Ecosystem              Idea Generation
                                         Emails/Chats
                                                                       Insight/ Fact                                                 Analytics
                                       External Structured             Extraction &        People                    Industry
                                                                        Processing
                                   Industry, Company, Investors,                                         Kognetics                  Opportunity
        Algorithms                                                                                                                                          Client Pitches
                                  Transactions, Patents, Financial                                       Knowledge                   Analytics
                                          Filings, Dbpedia                                                 Graph

                                     External Unstructured                                 Investor                  Company        Predictive
     User Workflow &
                                  News, Social Media, Websites,                                                                       Market               Deal Execution
        Methods
                                        Analyst Reports                                                                              Insights
                                                                                                          Products


     Concept Modelling                       Natural Language Processing                                                         Machine Learning        Enterprise Applications

     Concept Matching                             Semantic Analytics                                                              Graph Analytics                 APIs

     Machine Learning                               Image Matching                                                              Descriptive Analytics      Managed Services



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                                                                                                                                                        STRATESPHERE--002859
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Kognetics AI Platform - Extremely Powerful Yet Simple to Use – Sample Screen Shots

           First, you start with a
    1.     question …                   2. Next, you key-in a company name and the
                                           platform offers you a list of sub-questions …                   3. Then, results are delivered in
                                                                                                              seconds…




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                                                                                                                               STRATESPHERE--002860
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Kognetics AI Platform - Extremely Powerful Yet Simple to Use
                                                  Sample Screen 1: Company Profile




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                                                                                                                           STRATESPHERE--002861
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Sample Features

Instant Answers to Complex Questions - Competition
        Sample Screen 2: Top Competitors Across all Business Segments that Cisco Operates In


                                                                                                                           Cisco – All segments

                                                                                                                           •   Lists the top 500
                                                                                                                               competitors
                                                                                                                           •   For each competitor,
                                                                                                                               shows overlapping
                                                                                                                               segments & segment
                                                                                                                               count
                                                                                                                           •   24 columns of data
                                                                                                                               total
                                                                                                                           •   Rank on any column
                                                                                                                           •   Easily export
                                                                                                                           •   Normally would take
                                                                                                                               days to complete



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                                                                                                                                   STRATESPHERE--002862
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Sample Features

Instant Bubble Maps
                              Sample Screen 3: Bubble Map of Cisco’s IoT Smart City Category

     •   67 competitors
     •   6 sub-industry
         segments (traffic flow
         management,
         operations,
         emergency response,
         etc)
     •   Sub-industry &                                                                                   Mouse over / click on any
         company                                                                                          competitor and get a pop up
         interconnections                                                                                 describing 17+ data points of
                                                                                                          information about the competitor




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                                                                             9



                                                                                                                                STRATESPHERE--002863
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Sample Features

Instant Market Maps
   Sample Screen 4: Market Map of Artificial Intelligence + Sub-Segments That Cisco Operates In

                                                                                                                      Cisco – Artificial Intelligence
                                                                                                                      segments

                                                                                                                      •     Shows all segments across
                                                                                                                            the entire AI market, and
                                                                                                                            highlights the six segments
                                                                                                                            that Cisco operates in
                                                                                                                      •     Helpful for identifying where
                                                                                                                            Cisco is strong, weak, and
                                                                                                                            strategic adjacencies that
                                                                                                                            Cisco could move into
                                                                                                                      •     Click on any segment to
                                                                                                                            research segment profile,
                                                                                                                            competitors in a segment,
                                                                                                                            and more.
                                                                                                                      •     Easily export
                                                                                                                      •     Normally would take days
                                                                                                                            to complete



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                                                                                                                                      STRATESPHERE--002864
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Sample Features

Instantly Identify A Company’s Most Critical Strategic Gaps
                                  Sample Screen 5: Most Critical Strategic Gaps for Cisco


                                                                                                                   Cisco – All segments – 500 Gaps
                                                                                                                   Identified

                                                                                                                   •   Lists strategic gaps based on
                                                                                                                       multiple data points –
                                                                                                                       company, competitive, etc
                                                                                                                   •   Shows overlapping segments
                                                                                                                       & segment count by
                                                                                                                       competitor
                                                                                                                   •   Can be reduced down to a
                                                                                                                       single industry/sector/gap
                                                                                                                   •   24 columns of data total
                                                                                                                   •   Rank on any column
                                                                                                                   •   Easily export
                                                                                                                   •   Extremely valuable to senior
                                                                                                                       management, private equity,
                                                                                                                       investment banking, others


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                                                                                                                                       STRATESPHERE--002865
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Sample Features

Instantly Identify Potential Acquirers
                                  Sample Screen 6: Most Likely Acquirers of a Company

                                                                                                                      Company: Sidewalk Labs

                                                                                                                      •     Sidewalk labs competes with
                                                                                                                            Cisco in the IoT Smart City
                                                                                                                            Category
                                                                                                                      •     108 potential acquirers
                                                                                                                      •     Ranks Potential Acquisition
                                                                                                                            Likelihood (High, Medium,
                                                                                                                            Low)
                                                                                                                      •     Identifies Rationale for
                                                                                                                            Acquisition based on complex
                                                                                                                            competitive algorithm
                                                                                                                      •     21 columns of data
                                                                                                                      •     Extremely valuable to
                                                                                                                            corporate development,
                                                                                                                            investment banking, private
                                                                                                                            equity, entrepreneurs, others




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                                                                                                                                      STRATESPHERE--002866
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Serving Multiple Types of Strategy Professionals
                                                                   Strategy & Corporate Development
     Kognetics’ platform provides                                • Monitor in real-time competitor & market intelligence
     simple, easy, instant, extremely                            • Predict emerging industry trends and competitor actions
     valuable answers to a variety of                            • Prioritize critical strategic gaps and identify assets to complement your portfolio
     people in the enterprise strategy
     market:                                                                Product Management
                                                                  • Access market & technology shifts that impact your portfolio
                                                                  • Granularly benchmark your products capabilities with competitors
     •    Senior Management
                                                                  • Identify critical capabilities to fuel product roadmaps
     •    Corporate Strategy
     •    Corporate Development                                   Industry Development & Localization
                                                                  • Baseline current capabilities against a granular industry and value chain maps
     •    Entrepreneurs
                                                                  • Comprehensively identify and prioritize critical ecosystem gaps
     •    Venture Capital
                                                                  • Prioritize global and local partners for industry development and localization
     •    Private Equity
     •    Hedge Funds                                                       Investment Banking
                                                                  • Predict emerging M&A trends
     •    Municipal Planning
                                                                  • Build hyper target list for sell-side. Predict potential acquires and likely investors
     •    Investment Banking                                      • Deep intel on buyer universe. Identify critical strategic gaps & most relevant acquisition targets
     •    Consulting
     •    Executive Search                                                      Private Equity
                                                                  • Access granular market maps and emerging industry trends to build a targeted investment thesis
                                                                  • Create a proprietary deal sourcing engine with a differentiated proposition
                                                                  • Identify portfolio value creation levers and exit opportunities


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                                                                                                                                                         STRATESPHERE--002867
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Case Study 1 – Kognetics Client – Top Technology Private Equity Firm

                                                                       Problem:
                                                                       •   Need for a software solution that could –
                                                                            ‒ Match and further elevate the already well-oiled deal machine at the firm
                                                                            ‒ Identify unique deal opportunities from ever-growing universe of private companies
                                                                            ‒ Recommend value-creation for their portfolio companies at scale

                                                                       Kognetics Solution:
                                                                       •   For over two years now, Kognetics platform has been powering deal
                                                                           sourcing and value creation efforts at the PE firm.
                                                                       •   The unique capabilities of Kognetics platform completely align with the rapid
 Customer:
                                                                           deal making philosophy of the PE firm –
 •    Top private equity firm focused on financing software                 ‒ Predicting industry trends across a crowded and ever-expanding software space
      and technology enabled high growth companies
                                                                            ‒ Identifying hyper-targeted list of investment opportunities
 •    More that 204 software acquisitions in last 8 years,                  ‒ Tracking portfolio companies ecosystem at scale and recommending value
      more than any tech company or financial firm                               creation and exit opportunities

                                                                       Kognetics Impact:
                                                                       •   Complete automation of deal sourcing, evaluating 30K+ private companies
                                                                           in a quarter vs. earlier 2K
                                                                       •   Platform-driven prediction of portfolio value creation opportunities vs. a
                                                                           completely manual, resource intensive and less rigorous process

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                                                                                                                                        STRATESPHERE--002868
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Case Study 2 – Kognetics Client – Top Financial Services Group in Singapore

                                                                           Kognetics Solution:
                                                                           •   Custom software that combines Knowledge Graph, Natural Language
                                                                               Processing and Machine Learning
                                                                           •   The software scans through a variety of structured and unstructured data
                                                                               sources to –
                                                                                ‒ Build a 360 degree view of not just the companies but also its subsidiaries, focus
                                                                                     industries, target markets, executive team etc.
                                                                                ‒    Extract signals that most impact the share price performance of the companies
                                                                                ‒    Correlate signals to historical share price performance of the companies
                                                                                ‒    Assess the impact of a new signal on a company’s performance
  Customer:
  •    Multinational banking and financial services corporation            Kognetics Impact:
       headquartered in Singapore
                                                                           •   Creating a new revenue stream ($50M+) for the bank with a new product for
                                                                               institutional investor clients
  Problem:
                                                                           •   The product is now expanded to be used by –
  •    The bank required a platform that can be leveraged to
                                                                                ‒ Institutional Banking Group (IBG) for actively tracking Singapore ecosystem to
        ‒ Build a software offering targeted at institutional investor               identify attractive prospects for business development
             clients, that augments banks equity research
                                                                                ‒    Bank’s Risk Management Group (RMG) for active monitoring of 360 view of DBS’s
        ‒    Predict attractive business development opportunities for               customers and associated risk triggers
             banks Institutional Banking group
        ‒    Monitor the risks profile of banks customers and associated
             risk triggers

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                                                                                                                                               STRATESPHERE--002869
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Case Study 3 – Kognetics Client – Leading Investment Bank

                                                                       Problem:
                                                                       •   Kognetics was tasked with analyzing a universe of 3,000 companies and
                                                                           specifically identifying those companies that are poised for a transaction
                                                                           within 6 months.
                                                                       •   Identifying potential acquirers for the companies that are due for primary
                                                                           buyout

                                                                       Kognetics Solution:
                                                                       •   The bank leveraged Kognetics platform to -
  Customer:                                                                 ‒ Identify 300 potential transactions - M&A, Capital Raise
  •    A leading global investment bank based in the US, with               ‒ Predict most likely acquirers and investors for the companies
       a target on emerging growth companies in the
       technology sector.                                              Kognetics Impact:
  •    $95B in transactions in the last decade                         •   100% of the transactions predicted occurred within the 6 month timeframe
                                                                       •   Firm closed 3 M&A transactions adding incremental fees of $5M and a
                                                                           current pipeline of $400M for capital raises / $24M fees.




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                                                                                                                                        STRATESPHERE--002870
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Kognetics Revenue Engine

Kognetics’ platform fuels multiple revenue streams for the company




                                            SaaS                         Managed Service                    Enterprise Solutions
                                      Software as a Service

                                  Standard Self-Service                SaaS + Professional                  Solution that combines
                                  SaaS business model                  Services model that                  customer data sources
                                  that focuses on high                 leverages the platform               with Kognetics public
                                  volume, low cost sales               to produce actionable                sources in a proprietary
                                  to small to medium size              insights for an internal             build
                                  enterprises                          team



                                         $75,000                             $200,000                            $500,000
                                      ARR Per Client                       ARR Per Client                        Average Sale




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                                                                                                                                       STRATESPHERE--002871
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Kognetics - Strong Market Traction With Global Brands

   • The Kognetics platform has been in-market
     three years

   • As of August 2019:
      ‒ 22 Customers total
      ‒ 10 Global-1000 companies
      ‒ 14 Companies in financial services –
         venture capital, private equity, investment
         banking
      ‒ 1 Sovereign Wealth Fund

   • Company is growing rapidly

   • 50+ opportunities in the pipeline


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                                                                                                                            STRATESPHERE--002872
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Revenue 2018-2023
  Growth model below as an independent company with $25M investment. As part of a larger
  organization, we believe that these numbers could scale further.

                                    28                   56             88                135                198          275




                                                                                                                              52.1
                                                                                                                      $47.4
                                                                                                               36.6
                                                                                                       $31.6

                                                                                   $18.8 21.0
                                                                  $10.3 11.6
                            $1.2     2.6          $3.3    4.1
                                  2018               2019             2020             2021                 2022         2023

                                                                         Revenue    ARR         Customers



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                                                                                                                                     STRATESPHERE--002873
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Revenue 2018-2023
  Growth model below as an independent company with $25M and $42M investment. As part of a larger
  organization, we believe that these numbers could scale further.


                                                                                                              $77.7




                                                                                                      $47.4
                                                                                             $44.2

                                                                                     $31.6
                                                                            $24.0
                                                                    $18.8
                                                 $10.3 $10.6                                                              Base Case          Growth Case

                $1.2 $1.2         $3.3 $3.3                                                                            Investment: $25M    Investment: $42M
                                                                                                                       5 Yr CAGR: 109%     5 Yr CAGR: 130%

                    2018            2019              2020              2021            2022              2023
                                                             Revenue ($ Million)



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                                                                                                                                          STRATESPHERE--002874
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Future Growth Plan


                     Expand Kognetics Knowledge Graph
                     Our product roadmap includes increasing the breadth and depth
                     of data, in order to increase sales opportunities


                     Scale Sales & Customer Success Team
                     Additional sales and customer success resources will enable us
                     to reach and engage more customers


                     Increase Marketing Initiatives
                     Marketing growth will support sales through awareness, validation,
                     thought leadership, and inbound lead generation.


                     Expand Product Development
                     Expanded product development will create new revenue opportunities
                     while ensuring revenue retention through new feature introductions.



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Kognetics Market 1 - Investment Banking, Private Equity, Consulting, Corporate M&A


Global TAM of 111,000 Firms, 577,000 Users and $5.5B in Revenue Opportunity

                                                                                                                                                 Revenue
 Segment                               Sub-Segment                                                    # of Firms            # of Users
                                                                                                                                                 (US $M)
                                       Large (500+ Employees)                                               140                19,600                294
                                       Medium (11 – 200 Employees)                                        1,915                72,770              1,092
 Investment Banks
                                       Small (1 – 10 Employees)                                           2,125                29,750                223
                                       Independents                                                      47,500                47,500                238
                                       Big ($2B+ AUM)                                                        43                 8,585                129
 Private Equity Firms                  Medium ($501M - $2B AUM)                                             925               101,750              1,526
                                       Small ($10M - $500M AUM)                                           3,418                75,185                752
                                       Large ($10B+ Revenue)                                                125                 7,875                 79
 Corporations
                                       Medium ($1B - $10B Revenue)                                        4,875               156,000                780
                                       Large (200+ Employees)                                                93                 2,960                 44
 Consulting Firms                      Medium (11 – 200 Employees)                                          445                 5,785                 43
                                       Small (1 – 10 Employees)                                          50,000                50,000                250
                                                                                                        111,604               577,760              5,450




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                                                                                                                                         STRATESPHERE--002876
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Kognetics Market 2 – Enterprise Solutions


Global TAM of 46M Firms, 84M Users and $24B in Revenue Opportunity

                                                                                                                                           Revenue
 Segment                                Sub-Segment                                              # of Firms          Users (TAM)
                                                                                                                                            (US$M)
 Public Companies                       Listed on Global SEs                                        50,000            16,000,000             12,000
                                        Large (>500 People)                                        120,000            19,000,000              9,500
 Private Corporations                   Medium (100 – 500 People)                                1,350,000            18,000,000              2,250
                                        Small (Less than 100 People)                            45,000,000            31,000,000               620
                                        Large County (G20)                                              20                  10,000              40
 Economic Development                   Medium (Next 50)                                                50                  12,500              38
                                        Provinces                                                      150                  15,000              45

                                                                                                46,520,220            84,037,500             24,493




                                                                            23
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                                                                                                                                     STRATESPHERE--002877
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TEAM

Experienced Leadership Team
                           Dr. Inder Thukral                                                            Hetal Shah
                           PhD in Decision Sciences from RPI, 15 year veteran of                        Seasoned strategy and product management executive
                           IBM working as a VP of Strategy and Business                                 with over 10 years of experience across North America
                           Development, IBM Research and Software Labs, and                             and Asia. Also held senior consulting positions at IBM
                           $300M IBM Investment Fund.



                           Tariq Farwana                                                                Navin Garg
                           Serial entrepreneur and investor in deals including                          Senior data scientist and engineer experienced in building
                           Ultimate Software, Manta Media, and Ultryx. Over 20                          analytics applications. Previously held the Engineering
                           years of experience in corporate development, global                         Leader position at SAS Institute
                           sourcing & technology transfer.




                           Rajeev Vaid                                                                  Devesh Bahl
                           VP of Corporate Development at IBM that executed over                        Over 20 years of progressive financial experience with
                           $2B in M&A transactions. Founding leadership team                            companies such as AMEX, Motorola, GE Capital,
                           member at Genpact (GE Capital business unit) driving                         Genpact and GECIS. Grew Genpact F&A business from
                           growth to over $500M.                                                        $60M to over $200M. Setup Analytics vertical for AMEX.




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                                                                                                                                             STRATESPHERE--002878
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FINANCIALS

P&L Summary (Actuals)
                                                                                      Pre-Revenue                2017                      2018

                                                                                                          Through Dec 31, 2017      Through Dec 31, 2018

           Revenue                                                                                    -                  752,534                  1,196,569



           Cost of Goods

           Cost of Goods Sold (COGS)                                                                  -                  220,492                   708,605

           Gross Profit                                                                               -                  532,041                   487,964

           Gross Margin                                                                               -                      71%                       41%



           Operating Expenses

           Research & Development                                                            3,548,472                   418,701                   533,729

           Sales & Marketing                                                                          -                  234,881                   326,769

           General & Administrative                                                                   -                  367,640                   630,064

           Operating Income                                                                 (3,548,472)                 (489,182)              (1,002,597)




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                                                                                                                                              STRATESPHERE--002879
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FINANCIALS

P&L Summary (Pro Forma): Base Case
                          $ Million                   2018 (Act.)        2019             2020              2021              2022          2023



                                          Revenue       1,197            3,336           10,269            18,776            31,570        47,355

                                            CAGR                         179%             208%              83%               68%           50%


                    Cost of Goods Sold (COGS)            709             1,632            5,396             7,309             8,840        13,259
                                       Gross Profit      488             1,704            4,873            11,457            22,730        34,096
                                      Gross Margin       41%             51%              47%               61%               72%           72%


                                            SG&A        1,491            4,565           12,107            18,534            27,917        35,516
                      Research & Development             534             1,931            4,108             5,257             7,893         8,524
                              Sales & Marketing          327             1,501            5,432             8,583            12,763        17,521
                      General & Administrative           630             1,133            2,567             4,694             7,261         9,471


                                           EBITDA       (1,003)         (2,861)          (7,234)           (7,067)           (5,186)       (1,421)
                                                                         -86%             -70%              -38%              -16%          -3%

                                                                                                                      Investment Amount: $25M



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FINANCIALS

P&L Summary (Pro Forma): Growth Case
                          $ Million                   2018 (Act.)        2019             2020              2021              2022          2023


                                          Revenue       1,197            3,336           10,590            24,036            44,205        77,720
                                            CAGR                         179%             217%              127%              84%           76%


                    Cost of Goods Sold (COGS)            709             1,632            4,208             8,757            15,582        26,796
                                       Gross Profit      488             1,704            6,382            15,279            28,624        50,924
                                      Gross Margin       41%             51%              60%               64%               65%           66%


                                            SG&A        1,491            4,565           13,809            28,498            38,625        58,011
                      Research & Development             534             1,931            6,354            12,018            13,262        15,544
                              Sales & Marketing          327             1,501            4,807            10,471            16,522        28,478
                      General & Administrative           630             1,133            2,647             6,009             8,841        13,990


                                           EBITDA       (1,003)         (2,861)          (7,427)           (13,220)          (10,001)      (7,088)
                                                         -84%            -86%             -70%              -55%              -23%          -9%

                                                                                                                      Investment Amount: $42M



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                                                                                                                                          STRATESPHERE--002881
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                                                 ARTIFICIAL INTELLIGENCE PLATFORM
                                                 FOR ENTERPRISE DECISION MAKING




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